Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 1 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

--- ---- xX Case No. 16 CV 01994
ERIC ALI,
Plaintiff, FIRST AMENDED
COMPLAINT IN CIVIL CASE
JURY TRIAL DEMANDED
-against-

LAWRENCE K. MARKS, CHIEF OF PUBLIC SAFETY,
NEW YORK STATE’S OFFICE OF COURT
ADMINISTRATION, COURT OFFICER T. ELEAZAR
RAMOS SHIELD NO. 7217. and COURT OFFICER
JOHN DOE 1

Defendants.
-- x

 

Plaintiff, ERIC ALI, by his attorney, ADRIAN A. ELLIS, LLC, alleges as follows:

1. This isa civil rights action brought by plaintiff Eric Ali (“Mr. Ali” or “Plaintiff’) for
damages pursuant to 42 U.S.C. § 1983. Whilst in the custody of the New York State
Office of Court Administration and detained at the New York County Supreme Court,
Criminal Term the defendants showed an evinced and depraved indifference to the
safety, well-being and security of the plaintiff.

JURISDICTION AND VENUE

2. This action arises under the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. §§ 1983 and 1988.

3. The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331 and 1343(a)(3-4).
Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 2 of 7

4. The acts complained of occurred in the Southern District of New York and venue is

properly vested in this Court pursuant to 28 U.S.C. § 1391(b).
PARTIES

5. Eric Ali is a resident of New York, New York but resided at Rikers Island at the time
of the incident.

6. That at all times hereinafter mentioned, defendant Hon. Lawrence K. Marks
(hereinafter “Judge Marks”) was and is the Chief Administrative Judge for New York
State Office of Court Administration (hereinafter “OCA”). OCA pursuant to
delegated authority from the Chief Administrator of the Courts, as authorized by §28
of Article 6 of the New York State Constitution, was and still is responsible for
the administration and operation of the Unified Court System in the State of New
York.

7. Judge Lawrence K. Marks was at all times herein relevant a policy maker with
respect to training, supervision, and discipline of New York State Court Officers
including defendant Ramos defendant and the unidentified Court Officer, John Doe.
On information and belief, Judge Marks was responsible for the policy, practice,
supervision, implementation, and conduct of all administrative matters relating to the
OCA and was responsible for the appointment, training, supervision, and conduct of
all OCA personnel, including the defendants referenced herein. OCA is also
responsible for the care, custody, and control of all inmates in the New York State
Supreme Court System. Judge Marks was provided with reports of applications of
force, allegations of unreported use of force, and other breaches of security by New

York State Court Officers. In addition, at all relevant times, Judge Marks was
Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 3 of 7

responsible for enforcing the rules of the OCA and for ensuring that New York State

Court Officers obey the laws of the United States and of the State of New York.

8. Atall relevant times, Correction Officer, T. Eleazar Ramos (hereinafter “Ramos”)
shield number 7217 was an officer within the New York State Office of Court
Administration and was assigned to New York State Supreme Court, New York
County, Criminal Term, acting in the capacity of an agent, employee of New York
State Office of Court Administration. These actions were within the scope of his
employment and as such he was acting under color of State law. Defendant Ramos is

sued in his individual capacity.

9. Atall relevant times, Correction Officer, John Doe (hereinafter “John Doe”) shield
number unknown was an officer within the New York State Office of Court
Administration and was assigned to New York State Supreme Court, New York
County, Criminal Term, acting in the capacity of an agent, employee of New York
State Office of Court Administration. These actions were within the scope of his
employment and as such he was acting under color of State law. Defendant John Doe
is sued in his individual capacity.

10. Atall times relevant to this lawsuit, Defendants acted under color of the laws of
the State of New York.
11. This action is brought pursuant to 42 U.S.C. §1983, which prohibits the violation, under

“color of state law” of rights secured by the Constitution and laws of the United States of

America.
12.

13.

14.

15.

Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 4 of 7

STATEMENT OF FACTS

On July 21, 2015 the plaintiff appeared before the Honorable Judge Charles H. Solomon,
Supreme Court, New York County, Criminal Term on a pending criminal matter. After
what was a boisterous appearance where the plaintiff loudly voiced his concerns about
his case and how it was proceeding to Judge Solomon he was handcuffed by defendant
Ramos and/or John Doe who was acting in concert with Ramos. Ramos and/or John Doe
handcuffed the plaintiff unnecessarily and excessively tight in order to administer pain
upon the plaintiff and punish him for the aforementioned display in Court.
As a result the plaintiff started to experience significant numbness and tingling in his left
wrist. The defendants then in allegedly attempting to open the handcuffs broke the key in
the lock to the handcuff thereby extending the period of time that plaintiff was left in a
state of extreme discomfort and loss of feeling in his arm. After significant delay the New
York City Fire Department was called as a result of the direction of Judge Solomon. The
New York City Fire Department was ultimately successful in removing the handcuffs.
However, plaintiff was left with permanent injury and continues to suffer from loss of use
of his hand as a result of the actions of the defendants.

FIRST CLAIM FOR RELIEF PURSUANT TO 42 U.S.C §1983
Plaintiff repeats and realigns each and every allegation as if fully set forth herein.
By reason of the foregoing and by intentionally handcuffing the plaintiff in a manner to
ensure an affliction of severe pain and discomfort and subsequently delaying the

handcuffs being removed, the defendants deprived plaintiff of his rights, privileges,
16.

17.

18.

19.

20.

Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 5 of 7

protections and immunities guaranteed to him pursuant to 42 U.S.C. § 1983, including

but not limited to, rights guaranteed by the Fourteenth Amendment to the United States

Constitution to be free from deliberate indifference to safety and medical needs.
Defendants acted under pretense and color of state law and in their individual and official
capacities and within the scope of their employment as court officers and employees of OCA.
Said acts by defendants were beyond the scope of their jurisdiction, without authority of law
and in abuse of their powers. These defendants acted willfully, knowingly and with the
specific intent to deprive plaintiff of his constitutional rights secured by 42 U.S.C. § 1983
and the Fourteenth Amendment to the United States Constitution.
As a direct and proximate result of the misconduct and abuse of authority the plaintiff

sustained the damages hereinbefore alleged.

SECOND CLAIM FOR RELIEF PURSUANT TO 42 U.S.C §1983

Plaintiff repeats and realigns each and every allegation as if fully set forth herein.
Defendant Judge Marks acting under the pretense and color of law, permitted, tolerated and
was deliberately indifferent to a pattern and practice of officers physically abusing inmates.
This widespread policy of failing to have officers properly trained to interact with inmates
appropriately constituted a municipal policy, practice and custom that led to plaintiffs
injuries.

By permitting, tolerating and sanctioning a persistent and widespread policy, practice and
custom pursuant to which plaintiff was subjected to an intentional and malicious disregard
for his safety and security, defendant Judge Marks has deprived plaintiff of rights, privileges,

protections and immunities guaranteed to him pursuant to 42 U.S.C. § 1983, including but
Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 6 of 7

not limited to, rights guaranteed by the Fourteenth Amendment to the United States
Constitution to be free from deliberate indifference to his safety and well-being.

21. Asa direct and proximate result of the misconduct the plaintiff sustained the damages

hereinbefore alleged.

THIRD CLAIM FOR RELIEF PURSUANT TO 42 U.S.C § 1985

22. Plaintiff repeats and realigns each and every allegation as if fully set forth herein.

23. The individual defendants conspired for the purposes of directly depriving plaintiff of his
right to be free from deliberate indifference to his safety and medical needs pursuant to
the Fourteenth Amendment to the United States Constitution, and are liable to plaintiff
under 42 U.S.C. § 1985.

24. Defendants formed agreements with each other to act in concert to inflict unconstitutional
injuries on plaintiff, namely to handcuff him excessively tight and then break the key in
the lock so as to delay the infliction of pain and discomfort on the plaintiff. The officers
then delayed obtaining the necessary help to have the handcuffs removed. The officers
acted in furtherance of the goal of inflicting as much pain and discomfort as outlined
herein.

25. Asadirect and proximate result of the misconduct and abuse of authority the plaintiff
sustained the damages hereinbefore alleged.

PRAYERS FOR RELIEF

WHEREFORE, plaintiff respectfully requests judgment against defendants as follows:
(a) Compensatory damages against all the defendants jointly and severally;

(b) Punitive damages against the individual Defendants, jointly and severally;
Case 1:16-cv-01994-ALC-GWG Document 10 Filed 05/26/16 Page 7 of 7

(c) Reasonable attorney’s fees and costs pursuant to 28 U.S.C. § 1988; and

(d) Such other and further relief as this Court deems just and proper.

Dated: Brooklyn, New York
May 26, 2016
Adrian A. Ellis, LLC

By: Adrian A. Ellis, Esq. (5276)
26 Court Street, suite 1600
Brooklyn, New York 11242

 
